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Sn the Giuted States Court of Federal Clanns

No. 15-709C
(Filed September 10, 2015)
NOT FOR PUBLICATION FILED
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, U.S. COURT OF
DEBORAH DENISE FEDERAL CLAIM
EMIR-DUBOSE, * :
*
Plaintiff, *
*
v. 7
*
THE UNITED STATES, *
*
Defendant. 7
*
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ORDER

Despite being ordered to do so, plaintiff has failed to properly file a complaint
in the above-captioned case. On July 22, 2015, the Court issued an order that noted
plaintiffs failure to include her signature in her original complaint pursuant to
Rule 11(a) of the Rules of the United States Court of Federal Claims (RCFC). See
Order (July 22, 2015). Accordingly, the Court gave plaintiff until August 7, 2015, to
file a proper complaint containing her signature. Several days later, plaintiff
submitted what appeared to be an amended complaint, but which likewise failed to
comply with numerous court rules (including the requirement of a signature) and
thus was returned to plaintiff unfiled. See Order (July 29, 2015).

Because plaintiff did not file a complaint containing her signature by the
August 7, 2015 deadline, this matter is accordingly DISMISSED for failure to
prosecute under RCFC 41(b). The Clerk shall close the case.

IT IS SO ORDERED.

 
